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MAnCus sWAFrEz BATEs PLA|NTiFF
vs. ciVlL ACT|ON No. 3:04-cv-273 Ws
JAY HousTON, ET AL. _ DEFENDANTS

FlNAL JUD MENT

This matter having come on pursuant to the Report and Ftecommendation of
the United States N|agistrate Judge, and this court, having adopted the same as its
own order, hereby orders that the motion of defendants for summary judgment be

granted and the plaintiff’s complaint be dismissed with prejudice.

SO ORDERED, TH|S THE 22nd DAY OF December, 2005.

S/ HENRY T. WlNGATE

CHIEF UN|TED STATES DlSTFl|CT JUDGE

 

 

